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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                          Plaintiff,            )
                                                )
                     v.                         )   No. 1:22-cr-00177-JPH-MJD
                                                )
WILLIAM JOHNSON, II,                            ) -01
                                                )
                          Defendant.            )

             ORDER DENYING MOTION TO REDUCE SENTENCE

      William Johnson II has filed a motion to reduce his sentence under

Amendment 821 to the United States Sentencing Guidelines, which

retroactively lowered the sentencing guidelines calculation for some

defendants. Dkt. 53.

      Under 18 U.S.C. § 3582(c), a district court "may not modify a term of

imprisonment once it has been imposed" unless an exception applies. See

Dillon v. United States, 560 U.S. 817, 824 (2010). One of those exceptions is for

"a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing

Commission." 18 U.S.C. § 3582(c)(2). Motions for sentence reductions under §

3582(c)(2) are evaluated in "a two-step inquiry." Dillon, 560 U.S. at 826–27.

First, the district court must determine whether the reduction is permissible

under the amended guidelines. Id. If that first step is satisfied, the district

court must consider "any applicable § 3553(a) factors and determine whether,




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in its discretion, the reduction . . . is warranted . . . under the particular

circumstances of the case." Id.

      Here, Mr. Johnson seeks a reduction under Amendment 821 Part A,

which limits "status points" imposed for having committed the offense while

under a criminal justice sentence. Dkt. 53; USSG §4A1.1. The government

responds that Mr. Johnson is not eligible for a reduction because his sentence

already accounted for Amendment 821. Dkt. 56.

      Mr. Johnson received two status points, resulting in a criminal history

category of V. Dkt. 30 at 12. But at the time of the sentencing hearing,

Amendment 821 had been proposed, so the Court expressly "account[ed] for

the proposed guideline amendment to §4A1.1(d), set to become effective on

November 1, 2023." Dkt. 40 at 2. The Court therefore explained on the record

that it was "functionally" using a guidelines range based on a criminal history

category IV instead of V.

      So, even if Mr. Johnson is technically eligible for a sentence reduction

under Dillon's first step, he has already received Amendment 821's benefit and

therefore cannot show at the second step that a "reduction . . . is warranted . .

. under the particular circumstances of the case." Dillon, 560 U.S. at 826–27.

Indeed, his motion does not address the 18 U.S.C. § 3553(a) factors or how

they could support a reduction on this record. See dkt. 53; United States v.

Clayton, 811 F.3d 918, 921 (7th Cir. 2016) (affirming denial of sentence

reduction when defendant presented no evidence regarding the § 3553(a)




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factors). Mr. Johnson's motion for sentence reduction is DENIED under the §

3553(a) factors as addressed at his sentencing hearing. Dkt. [53].

SO ORDERED.

Date: 5/1/2025




Distribution:

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